
701 S.E.2d 672 (2010)
STATE of North Carolina
v.
Gregory SELLERS.
No. 251P10.
Supreme Court of North Carolina.
August 26, 2010.
Bruce T. Cunningham, Jr., Southern Pines, for Gregory Sellers.
Derrick C. Mertz, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 16th of June 2010 in this matter for a writ of certiorari to review the order of the Superior Court, Henderson County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 26th of August 2010."
